     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 1 of 8



                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ROME
UNITED STATES

VERSUS                                  Criminal File No.4:17CR6HLM/WEJ

NILAGEO ALVAREZ-ACOSTA

      Defendant

     MOTION FOR DISCOVERY AND MEMORANDUM OF LAW IN
                    SUPPORT THEREOF

      COMES NOW Giles Jones, court appointed counsel for Nilageo Alvarez -

Acosta (Mr. Acosta), on behalf of himself and moves this Honorable Court

pursuant to Rule 16 of the Federal Rules of Criminal Procedure, 18 U.S.C. Section

3500, the Jencks Act, the Fifth and Sixth Amendments to the Constitution of the

United States, and any other applicable rules and authorities cited herein, for an

Order directing the Government to produce and permit Mr. Acosta to inspect, copy

or photograph each of the following which are now known to, or in the possession

of the Government, or any of its agents, or which through due diligence would or

could become known to the Government, its officers, agents, witnesses, or any

person having knowledge of this case.

      Mr. Acosta would respectfully show the Court that all discovery requested

herein is within the custody, control, and or possession of the government or its

agents, and that it can not reasonably obtained by Mr. Acosta other than by
     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 2 of 8



compliance by the government or by order of this Court. Further, Mr. Acosta

would show that all of the discovery requested herein is essential to the preparation

of his defense, as mandated by the Fifth, Sixth, and Fourteenth Amendments to the

Constitution of the United States, and is material to his defense and preparation for

hearings on any pending pretrial motion(s). Further, the discovery requested

herein is not made for the purpose of delay, and poses no undue burden on the

government.

      Mr. Acosta request the production of the following, to wit:

      1. Mr. Acosta requests that the Court exercise its discretion, as permitted

pursuant to the case of United States v. Ahmad, 53 F.R.D. 186 (D.C. Pa 1971) to

order the government to supply Mr. Acosta sufficiently in advance of trial to

enable proper preparation, with a list of all witnesses intended to be called by the

government at trial. See also, United States v. Leichtfuss, 331 F. Supp. 723 (N.D.

Ill. 1971); Gregory v. United States, 369 F.2d 185 (D.C. Cir. 1966).

      2. In order to properly enable Mr. Acosta to prepare for his defense at trial,

and to enable preparation of any and all pre-trial motions, pursuant to the Due

Process Clause of the Fifth Amendment to the Constitution of the United States

and the right to the effective confrontation and cross-examination under the Sixth

Amendment to the Constitution of the United States and under the general

authority of Pointer v. Texas, 380 U.S. 400 (1965) the following:
     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 3 of 8



      (a) state the name and addresses and, if applicable, the governmental agency

of each witness present who allegedly saw any defendant conspire with any other

defendant, or engage in any alleged illegal conduct;

      (b) state the names, ranks, positions, and addresses of any and all persons

who participated in a search and seizure of any residence, building, vehicle or

person involved in this case in any way whatsover;

      (c) state the exact location of all observation points utilized during any and

all alleged surveillance of the property, vehicle, or persons involved in this

investigation, and further, and when and how any observations took place at areas

other than said surveillance points;

      (d) and state the names and addresses of any and all government agents who

participated in any stop, interrogation, of any Defendant in the above-styled action.

      3. Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, Mr.

Acosta would further request such tangible objects which are in the possession,

custody, or control of the govenrment, and which are material to the preparation of

his defesne, intended for use by the government as evidence in its case in chief, or

belongs to Mr. Acosta. See also, United States v. Ross, 511 F.2d 757 (5th Cir.

1975). Said tangible objects shall include, but not be limited to, those enumerated

in section (a)(1)(C) of the Rule 16 of the Federal Rules of Criminal Procedure. In

addition, such evidence shall include, but not be limited to:
     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 4 of 8



      (a) tangible objects obtained from Mr. Acosta's person or effects, including

his cell phone seized at the time of his arrest;

      (b) tangible objects obtained from the person, any and all effects, residence,

or any vehicle belonging to or driven by Mr. Acosta or any of his co-Defendants

and or alleged co-conspirators in this case;

      (c) any and all documents, instruments, forms or statements of any kind

signed or purported to have signed by Mr. Acosta;

      (d) any and all documents, instruments, forms or statements of any kind

signed or purported to have been signed by any co-Defendant or and or alleged co-

conspirator in this case;

      (e) all other books, papers, visual or audio recordings, documents, or

tangible objects the government plans to offer into evidence in this case;

      (f) any and all other books, papers, documents, or tangible objects upon

which the government relied in returning the indictment against Mr. Acosta, the

discovery of which said objects is necessary to the preparation of his defense;

      (g) any and all property in the possession of the government or its agents or

seized by the government or its agents belonging or alleged by the government to

belong to Mr. Acosta. Specially, Mr. Acosta would ask the goverment to produce

the following pictures that are found on his cell phone in the custody and control of

the government's agent, to wit:
     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 5 of 8



                    (i) 20161025_211134104 (video);
                    (ii) 2159_1477795734026;
                    (iii) 2161_1477795721477;
                    (iv) 2163_1477795724312;
                    (v) 2163_1477795727049;
                    (vi) 2163_1476568439952;
                    (vii) 2163_1476816864935;
                    (viii) IMG_20160928_010243710;
                    (ix) IMG_20160928_010251320;
                    (x) IMG_20160928_012015607;
                    (xi) IMG_20161021_033614730;
                    (xii) IMG_20161021_033616336;
                    (xiii) IMG_20161021_033619939;
                    (xiv) IMG_20161021_033622042;
                    (xv) IMG_20161025_211103665; and
                    (xvi) IMG_20161025_211154179.


       (h) any and all property in the possession of the government or its agents or

seized by the government or its agents belonging or alleged by the government to

belong to any co-defendant and or alleged co-conspirator;

      (i) any and all other alleged contraband whatsoever, seized there from, and

attributed to the possession of Mr. Acosta and or any other defendants and or

conspirators in this case, whether indicted or not;

      (j) any and all charts, maps, or other computations which the government

intends to attempt to use at trial or which the government is in possession of and

which were made or used during the investigation of this matter of preparation of

the indictment.

advanced
     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 6 of 8



      4. Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), all material known to

the government or which may become known or through due diligence may be

learned from the investigative officers, witnesses, or persons having knowledge of

his case, which is exculpatory or favorable material or which might serve to

mitigate punishment, including any evidence impeaching or contradicting

testimony of government witnesses or instructions to government witnesses not to

speak with or discuss the facts of this case with defense counsel, the undersigned.

      5. A copy of the Alien Registration file held and controlled by the

Department of Homeland Security and or any other federal immigration agency for

the following alleged vicitms, to wit: "J.A.", "L.H." and or "A.M."

      WHEREFORE, Defendant, Nilageo Alvarez - Acosta, respectfully prays that

      (a) the Court enter an Order granting all discovery requested in this motion;

      (b) that such items of discovery as the government might assert are

privileged or otherwise not subject to discovery, be reviewed by this Court in

camera and that such discovery determined by the Court to be exempt there from

be deposited with the Court for preservation in order to facilitate any necessary

appellate review;

      (c) that the Defendant be allowed to supplement and amend his discovery

request as the disclosure of information provides further basis for relief; and
     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 7 of 8



      (d) that the Defendant be granted such and other and further relief as the

Court deems just and necessary.

      This the 5th day of March, 2018.

                                      Respectfully submitted,
                                      JONES & ERWIN, P.C.

                                      By:__(Giles Jones)________________
                                      Attorney for Defendant,
                                      NILAGEO ALVAREZ-ACOSTA
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     Case 4:17-cr-00006-HLM-WEJ Document 159 Filed 03/05/18 Page 8 of 8



                          CERTIFICATE OF SERVICE

        This is to certify that I have served this day a copy of the MOTION FOR

 DISCOVERY AND MEMORANDUM OF LAW IN SUPPORT THEREOF

by electronic filing. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt.

Access to this filing is available through the Court’s electronic filing system.

                             Dashene Cooper, AUSA
                              Suzette Smikle, AUSA
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      This the 5th day of March, 2018.

                                        By: _/s/_(Giles Jones)________________
                                           Giles Jones, Attorney at Law
